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  8                                 UNITED STATES DISTRICT COURT
  9                              SOUTHERN DISTRICT OF CALIFORNIA
 10
      UNITED STATES OF AMERICA,                  )        Criminal Case No. 05cr0108-BTM
 11                                              )
                           Plaintiff,            )
 12                                              )        ORDER CONTINUING DATE
             v.                                  )        FOR SENTENCING HEARING
 13                                              )
      JESUS LOPEZ (3),                           )
 14                                              )
                           Defendant.            )
 15                                              )
 16                                              ORDER
 17          Good cause appearing, IT IS HEREBY ORDERED that the sentencing hearing in Criminal Case
 18   No. 05cr0108-BTM be continued from July 6, 2007 at 8:30 a.m., to September 19, 2007, at 9:00 a.m.
 19
 20   DATED: July 3, 2007
 21
 22                                                  Hon. Barry Ted Moskowitz
                                                     United States District Judge
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